             U N I T E D S TAT E S D I S T R I C T C O U RT
          FOR THE SOUTHERN DISTRICT OF TEXAS
                       HOUSTON DIVISION


 Richard Lowery, on behalf of himself            Civil Action No.
 and others similarly situated,                  4:22-cv-3091

                       Plaintiff,
                                                 Judge Charles Eskridge
 v.

 Texas A&M University System, et al.,

                       Defendants.


         PLAINTIFF’S SUPPLEMENTAL MEMORANDUM ON
                        JUSTICIABILITY
      The defendants’ opening brief in support of their motion to dismiss presented a
facial and not a factual challenge to the Court’s subject-matter jurisdiction, as it at-

tacked only the sufficiency of Mr. Lowery’s allegations rather than the truth of those
allegations. See Mot. to Dismiss, ECF No. 22, at 6–11; Menchaca v. Chrysler Credit

Corp., 613 F.2d 507, 511 (5th Cir. 1980) (explaining distinction between “facial” and

“factual” attacks under Rule 12(b)(1)). Only in a factual Rule 12(b)(1) challenge is a

plaintiff obligated to “prove” subject-matter jurisdiction “by a preponderance of the
evidence.”1 See Menchaca v. Chrysler Credit Corp., 613 F.2d 507, 511 (5th Cir. 1980)

(“[A] ‘factual attack’ under Rule 12(b)(1) may occur at any stage of the proceedings,
and plaintiff bears the burden of proof that jurisdiction does in fact exist.”).




1. Reply Br. in Support of Mot. to Dismiss, ECF No. 26, at 1 (“Under Rule 12(b)(1),
   Plaintiff must prove federal jurisdiction by a preponderance of the evidence.”).


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    The defendants did not suggest that they might be raising a factual challenge to

subject-matter jurisdiction until their reply brief, which asserted (for the first time)

that Mr. Lowery needed to “prove” (and not merely allege) subject-matter jurisdic-

tion “by a preponderance of the evidence,” and requested “an evidentiary hearing
to test” Mr. Lowery’s factual assertions. See Reply Br. in Support of Mot. to Dismiss,

ECF No. 26, at 1, 7. But a court cannot resolve a factual challenge to its subject-

matter jurisdiction without first affording the plaintiff an opportunity for discovery

into the facts relevant to jurisdiction:

       It is true that the factual determinations decisive of a motion to dismiss
       for lack of jurisdiction are within the court’s power, and that no right
       to a jury trial exists with regard to such issues. But still the district
       court must give the plaintiff an opportunity for discovery and for a
       hearing that is appropriate to the nature of the motion to dismiss.
Williamson v. Tucker, 645 F.2d 404, 414 (5th Cir. 1981).

    The defendants’ mootness argument also requires that Mr. Lowery be allowed

an opportunity for discovery before this Court determines whether the defendants
have carried their “heavy” burden of demonstrating mootness. See Los Angeles

County v. Davis, 440 U.S. 625, 631 (1979) (“The burden of demonstrating mootness

‘is a heavy one.’” (quoting United States v. W. T. Grant Co., 345 U.S. 629, 632–33
(1953)). It is not enough for the defendants to point to the enactment of SB 17 and
claim that the mere existence of that law eliminates the Article III injuries that Mr.

Lowery described in his first amended complaint, because Mr. Lowery denies that
the defendants intend to comply with SB 17. See Response to Defs.’ Notice of Supp.
Authority, ECF No. 29, at 2. The defendants have flouting for decades the explicit

non-discrimination provisions in Title VI and Title IX, which outlaw race and sex




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discrimination at universities that receive federal funds. See 42 U.S.C. § 2000d (Ti-

tle VI) (“No person in the United States shall, on the ground of race, color, or na-

tional origin, be excluded from participation in, be denied the benefits of, or be sub-

jected to discrimination under any program or activity receiving Federal financial
assistance.”); 20 U.S.C. § 1681 (Title IX) (“No person in the United States shall, on

the basis of sex, be excluded from participation in, be denied the benefits of, or be

subjected to discrimination under any education program or activity receiving Fed-

eral financial assistance . . .”). The defendants have produced nothing in the way of

affidavits or evidence showing that they will comply with SB 17’s anti-discrimination

provisions. Nor have they explained why they intend to comply with the provisions

of SB 17 that do nothing more than repeat the anti-discrimination requirements of

federal law that the defendants have been violating for decades.

    Indeed, even without the benefit of discovery, Mr. Lowery has already uncov-

ered evidence that casts doubt on whether the university will implement the color-

blind and sex-neutral hiring practices required by SB 17. Texas A&M’s Office for

Diversity still boasts on its website that intends to consider race and sex in faculty

hiring, as provided in Texas A&M’s 2020–2025 Strategic Plan. Its website states that

the university will:

       •   In new hires, increase by 100% the diversity of our faculty to better
           reflect the diversity of our student body.

       •   Increase by 50% the retention of women faculty on the tenure track
           to better reflect the diversity of our student body.
https://diversity.tamu.edu/Home/Strategic-Planning (last visited on June 30,

2023); see also Exhibit 1. This remains on the university’s website even after Gover-

nor Abbott signed SB 17 into law.



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    In addition, when Governor Abbott issued a directive in February of 2023 that

prohibited universities from requiring “diversity statements” from faculty candi-

dates, defendant Annie McGowan announced at a faculty senate meeting on Febru-

ary 14, 2023, that the university would circumvent the governor’s directive by asking
faculty candidates to address diversity in their “teaching and research statements”

instead:

       We’re looking for actual evidence, it’s an evidence-based approach to
       the work that the person has done. Therefore, it is not necessary that
       we have a diversity statement per se to do the work, if we ask for the
       candidate to reflect on that work in their teaching and research state-
       ment.
https://mediasite.tamu.edu/Mediasite/Play/5ca182bfdcf648c4af46eb37a2afc8be1d

(McGowan’s statement begins at 30:33 of the video).
    Worse, when Chancellor Sharp issued an order in February banning the use DEI

statements in faculty hiring in response to the governor’s directive, the university

continued to encourage the use of DEI statements in faculty statements but hid its
evasion of the governor’s directive by deleting incriminating materials from its web-

site and moving them to a password-protected training manual available only to

A&M employees. See Scott Yenor, DEI by Any Other Name Still Stinks: Administra-
tors at Texas A&M try to bury their woke hiring agenda, The American Mind (February
22, 2023), available at https://americanmind.org/salvo/dei-by-any-other-name-

still-stinks (last visited on June 30, 2023) (attached as Exhibit 2). The university also
recently hired an exceedingly pro-DEI individual from the New York Times to direct
its new journalism program. See Valerie Muñoz, Aggies Hire NY Times ‘Diversity’

Advocate To Head Journalism Program, Texas Scorecard ( June 15, 2023), available at

https://texasscorecard.com/state/aggies-hire-ny-times-diversity-advocate-to-head-



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journalism-program (last visted on June 30, 2023) (attached as Exhibit 3). These are

not the actions of a university that intends to implement colorblind and sex-neutral

hiring practices in response to SB 17, and we expect that discovery will uncover more

damaging evidence to the university’s position.
    Mr. Lowery is entitled to take discovery on whether and to what extent the

defendants intend to comply with SB 17’s prohibitions on race and sex

discrimination in faculty hiring, and Texas A&M must prove its intent to comply ra-

ther than waving SB 17 like a flag. A dismissal for mootness would be premature

absent an opportunity for discovery and the required proof from the defendants. The

Court should allow the parties to begin discovery regarding these jurisdictional is-

sues as soon as possible.

                                 CONCLUSION
    The motion to dismiss should be denied, and the Court should authorize the
parties to take discovery regarding the disputed jurisdictional issues.

                                            Respectfully submitted.

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